Case 1:00-cr-00015-MW-GRJ       Document 1219      Filed 07/31/07   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 1:00cr15-SPM

LINDA WILSON,
     Defendant.
_____________________________/

                                    ORDER

      This cause comes before the Court for consideration of the Magistrate

Judge’s Report and Recommendation (doc. 1215) dated June 21, 2007. Defendant

has been afforded an opportunity to file objections pursuant to Title 28, United

States Code, Section 636(b)(1). No objections have been filed. Having considered

the report and recommendation, I have determined that the report and

recommendation should be adopted.

      Accordingly, it is ORDERED as follows:

      1.     The magistrate judge’s report and recommendation (doc. 1215) is

ADOPTED and incorporated by reference in this order.

      2.     The motion to vacate sentence under § 2255 (doc. 1106) is denied.

      DONE AND ORDERED this 31st day of July, 2007.


                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
